Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 1 of 145 Page ID #:227
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 2 of 145 Page ID #:228
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 3 of 145 Page ID #:229
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 4 of 145 Page ID #:230
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 5 of 145 Page ID #:231
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 6 of 145 Page ID #:232
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 7 of 145 Page ID #:233
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 8 of 145 Page ID #:234
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 9 of 145 Page ID #:235
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 10 of 145 Page ID #:236
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 11 of 145 Page ID #:237
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 12 of 145 Page ID #:238
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 13 of 145 Page ID #:239
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 14 of 145 Page ID #:240
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 15 of 145 Page ID #:241
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 16 of 145 Page ID #:242
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 17 of 145 Page ID #:243
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 18 of 145 Page ID #:244
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 19 of 145 Page ID #:245
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 20 of 145 Page ID #:246
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 21 of 145 Page ID #:247
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 22 of 145 Page ID #:248
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 23 of 145 Page ID #:249
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 24 of 145 Page ID #:250
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 25 of 145 Page ID #:251
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 26 of 145 Page ID #:252
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 27 of 145 Page ID #:253
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 28 of 145 Page ID #:254
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 29 of 145 Page ID #:255
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 30 of 145 Page ID #:256
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 31 of 145 Page ID #:257
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 32 of 145 Page ID #:258
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 33 of 145 Page ID #:259
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 34 of 145 Page ID #:260
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 35 of 145 Page ID #:261
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 36 of 145 Page ID #:262
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 37 of 145 Page ID #:263
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 38 of 145 Page ID #:264
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 39 of 145 Page ID #:265
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 40 of 145 Page ID #:266
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 41 of 145 Page ID #:267
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 42 of 145 Page ID #:268
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 43 of 145 Page ID #:269
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 44 of 145 Page ID #:270
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 45 of 145 Page ID #:271
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 46 of 145 Page ID #:272
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 47 of 145 Page ID #:273
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 48 of 145 Page ID #:274
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 49 of 145 Page ID #:275
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 50 of 145 Page ID #:276
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 51 of 145 Page ID #:277
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 52 of 145 Page ID #:278
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 53 of 145 Page ID #:279
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 54 of 145 Page ID #:280
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 55 of 145 Page ID #:281
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 56 of 145 Page ID #:282
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 57 of 145 Page ID #:283
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 58 of 145 Page ID #:284
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 59 of 145 Page ID #:285
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 60 of 145 Page ID #:286
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 61 of 145 Page ID #:287
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 62 of 145 Page ID #:288
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 63 of 145 Page ID #:289
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 64 of 145 Page ID #:290
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 65 of 145 Page ID #:291
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 66 of 145 Page ID #:292
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 67 of 145 Page ID #:293
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 68 of 145 Page ID #:294
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 69 of 145 Page ID #:295
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 70 of 145 Page ID #:296
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 71 of 145 Page ID #:297
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 72 of 145 Page ID #:298
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 73 of 145 Page ID #:299
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 74 of 145 Page ID #:300
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 75 of 145 Page ID #:301
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 76 of 145 Page ID #:302
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 77 of 145 Page ID #:303
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 78 of 145 Page ID #:304
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 79 of 145 Page ID #:305
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 80 of 145 Page ID #:306
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 81 of 145 Page ID #:307
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 82 of 145 Page ID #:308
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 83 of 145 Page ID #:309
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 84 of 145 Page ID #:310
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 85 of 145 Page ID #:311
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 86 of 145 Page ID #:312
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 87 of 145 Page ID #:313
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 88 of 145 Page ID #:314
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 89 of 145 Page ID #:315
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 90 of 145 Page ID #:316
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 91 of 145 Page ID #:317
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 92 of 145 Page ID #:318
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 93 of 145 Page ID #:319
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 94 of 145 Page ID #:320
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 95 of 145 Page ID #:321
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 96 of 145 Page ID #:322
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 97 of 145 Page ID #:323
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 98 of 145 Page ID #:324
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 99 of 145 Page ID #:325
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 100 of 145 Page ID
                                   #:326
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 101 of 145 Page ID
                                   #:327
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 102 of 145 Page ID
                                   #:328
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 103 of 145 Page ID
                                   #:329
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 104 of 145 Page ID
                                   #:330
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 105 of 145 Page ID
                                   #:331
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 106 of 145 Page ID
                                   #:332
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 107 of 145 Page ID
                                   #:333
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 108 of 145 Page ID
                                   #:334
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 109 of 145 Page ID
                                   #:335
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 110 of 145 Page ID
                                   #:336
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 111 of 145 Page ID
                                   #:337
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 112 of 145 Page ID
                                   #:338
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 113 of 145 Page ID
                                   #:339
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 114 of 145 Page ID
                                   #:340
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 115 of 145 Page ID
                                   #:341
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 116 of 145 Page ID
                                   #:342
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 117 of 145 Page ID
                                   #:343
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 118 of 145 Page ID
                                   #:344
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 119 of 145 Page ID
                                   #:345
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 120 of 145 Page ID
                                   #:346
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 121 of 145 Page ID
                                   #:347
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 122 of 145 Page ID
                                   #:348
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 123 of 145 Page ID
                                   #:349
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 124 of 145 Page ID
                                   #:350
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 125 of 145 Page ID
                                   #:351
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 126 of 145 Page ID
                                   #:352
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 127 of 145 Page ID
                                   #:353
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 128 of 145 Page ID
                                   #:354
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 129 of 145 Page ID
                                   #:355
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 130 of 145 Page ID
                                   #:356
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 131 of 145 Page ID
                                   #:357
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 132 of 145 Page ID
                                   #:358
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 133 of 145 Page ID
                                   #:359
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 134 of 145 Page ID
                                   #:360
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 135 of 145 Page ID
                                   #:361
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 136 of 145 Page ID
                                   #:362
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 137 of 145 Page ID
                                   #:363
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 138 of 145 Page ID
                                   #:364
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 139 of 145 Page ID
                                   #:365
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 140 of 145 Page ID
                                   #:366
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 141 of 145 Page ID
                                   #:367
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 142 of 145 Page ID
                                   #:368
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 143 of 145 Page ID
                                   #:369
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 144 of 145 Page ID
                                   #:370
Case 2:12-cv-00960-RSWL-JC Document 31 Filed 08/20/13 Page 145 of 145 Page ID
                                   #:371
